est)

& AO 442 (Rev. 01/09) Arrest Warrant SX)

Case 2:10-cr-00092-RBS-TEM Document 7 Filed 10/07/#\ ek 1 | af Tab ‘L
I

 

UNITED STATES DISTRICT COURT ie

oon viein ORIGINAL

Eastern District of Virginia

United States of America

 

V. )
)
2:10CR
ANDREW MARVIN WARREN ) Case No. CRO ns
) =
) coe ="
Defendant - ~t
2 "2
ARREST WARRANT 2, >
To: — Any authorized law enforcement officer = ~ = >
=e a -
wn *

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) ANDREW MARVIN WARREN
who is accused of an offense or violation based on the following document filed with the court:

@ Indictment O Superseding Indictment O Information © Superseding Information © Complaint

O Probation Violation Petition Supervised Release Violation Petition O Violation Notice Order of the Court

This offense is briefly described as follows:

T.48:114{a)(1) - Assaulting, resisting and impeding officers (Count 1, et al.)

Date: 05/21/2010 Myre. lide _ Deputy Clerk

Lyle ‘§ Signature

City and state: Norfolk, VA oo Tommy E. Miller, U.S. Magistrate Judge

Printed name and title

 

Return

 

 

This warrant was received on (date) ~ +, ~~ Jand the person was arrested on (date)
al (city and state)

 

 

 

Date:

 

 

Arresting officer's signature

 

ClESK US beSi CT COURT
{ ey a1 Ly WB

 

 

Prinied name and title

Warans lehinnel Up ovr Aone Distwct of

(o\ abi pA

 

 

 
